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                                                 7   COMPANY; CIGNA BEHAVIORAL HEALTH,
                                                     INC.
                                                 8
                                                                          UNITED STATES DISTRICT COURT
                                                 9                       CENTRAL DISTRICT OF CALIFORNIA
                                                                               SOUTHERN DIVISION
                                                10
                                                     BRISTOL SL HOLDINGS, INC., a        )        CASE NO. 8:19-cv-00709-AG-ADS
                                                11   California corporation, in its capacity as
                                                                                         )
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                                                     the assignee for SURE HAVEN, INC., a)        DEFENDANTS’ REPLY IN
                                                12   California corporation,             )        SUPPORT OF MOTION TO
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                                                                                                  DISMISS COMPLAINT
                               LOS ANGELES




                                                13                                       )
                                                                       Plaintiff,        )
                                                                                         )        DATE:     July 22, 2019
                                                14          v.                                    TIME:     10:00 am
                                                                                         )        JUDGE:    Hon. Andrew J. Guilford
                                                15   CIGNA HEALTH AND LIFE               )        DEPT:     10D
                                                     INSURANCE COMPANY, a Connecticut )
                                                16   corporation; CIGNA BEHAVIORAL       )
                                                     HEALTH, INC., a Connecticut         )
                                                17   corporation; and DOES 1 through 10, )
                                                     inclusive,                          )
                                                18                                       )
                                                                       Defendants.       )
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                                                                                                      DEFS.’ REPLY ISO MOT. TO DISMISS
                                                                                                              (No. 8:19-CV-00709-AG-ADS )
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                                                                                                          -v-              DEFS.’ REPLY ISO MOT. TO DISMISS
                                                                                                                                   (No. 8:19-CV-00709-AG-ADS )
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                                                 1   I.   INTRODUCTION
                                                 2         The Opposition brief filed by Bristol SL Holdings, Inc. (“Bristol” or
                                                 3   “Plaintiff”) only confirms why this Motion to Dismiss (the “Motion”) should be
                                                 4   granted.
                                                 5         The scattershot Opposition does nothing to address, let alone fix, the fatal
                                                 6   flaws in Bristol’s conclusory and baseless claims. The only relevant “fact” alleged in
                                                 7   the Complaint is that Cigna Health and Life Insurance Company and Cigna
                                                 8   Behavioral Health, Inc. (collectively, “Cigna”) supposedly authorized and verified
                                                 9   coverage for 4 out of the 102 patients at issue here. That allegation is insufficient as
                                                10   a matter of law to justify any of the 12 causes of action asserted by Bristol for even
                                                11   those four patients. Notably, Bristol ignores the actual allegations in its Complaint in
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                                                12   opposing this Motion and spends several pages of the Opposition challenging
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                                                13   arguments that Cigna did not make. The core flaws in the Complaint are clear. First,
                                                14   Bristol has not properly alleged an ERISA claim. Second, Bristol concedes its
                                                15   Complaint is a “collection action for unpaid insurance benefits.” (Opp. at 1.)
                                                16   Bristol’s claims are exclusively governed by ERISA and its state law claims must be
                                                17   dismissed. Third, even if the claims were not preempted, the Complaint does not
                                                18   come close to meeting its FRCP Rule 9(b) and 8(a) obligations to assert fraud claims.
                                                19   Finally, governing California state law does not allow any of the remaining UCL and
                                                20   common law claims to survive given the threadbare allegations in the Complaint.
                                                21   Because amendment of the Complaint would be futile, Cigna respectfully asks that
                                                22   the Motion should be granted with prejudice.
                                                23 II.    BRISTOL’S CLAIM FOR ERISA BENEFITS FAILS (COA 1)
                                                24         Bristol’s Complaint fails to allege critcial components of an ERISA claim: (1)
                                                25   which claims are governed by ERISA; (2) the terms of those ERISA plans; (3) whether
                                                26   each of the ERISA claims were appropriately assigned; and (4) whether Bristol
                                                27   exhausted administrative remedies. (Mot. at 3-4.)
                                                28

                                                                                                           DEFS.’ REPLY ISO MOT. TO DISMISS
                                                                                                                   (No. 8:19-CV-00709-AG-ADS )
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                                                 1         Despite these fatal deficiencies, Bristol argues that its ERISA claim survives
                                                 2   because Plaintiff believes the plans exist and Cigna purportedly informed Sure Haven
                                                 3   that Cigna would pay for treatment at the “Usual Customary and Reasonable” (UCR)
                                                 4   rate. (Opp. at 2.) This vague assertion is nowhere near sufficient to support an
                                                 5   actionable claim. First, nowhere does Bristol actually allege in its Complaint that any
                                                 6   ERISA-governed plan required Cigna to pay a UCR rate for substance abuse treatment.
                                                 7   (See, e.g., Compl. ¶ 21.) The actual allegations of the Complaint confusingly allege
                                                 8   that the plans might have required Cigna to pay a reasonable and customary rate,
                                                 9   “prevailing fees or recognized charges,” or “such other rates as provided [sic] might
                                                10   have been provided in the plans.” (Mot. at 4; Compl. ¶ 21.) When Bristol’s Complaint
                                                11   does reference the UCR rate in connection with only four patients, Plaintiff alleges in
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                                                12   a confusing fashion that different UCR reimbursement rates supposedly applied to
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                                                13   each of these patients. (Compl. ¶ 14.) Moreover, even if the Complaint had alleged
                                                14   that Cigna agreed to pay the UCR rate per a governing ERISA plan, it would not satisfy
                                                15   Bristol’s pleading burden. To plead a claim for ERISA benefits, a plaintiff must “allege
                                                16   facts that establish the existence of an ERISA plan as well as the provisions of the plan
                                                17   that entitle it to benefits.”   Forest Ambulatory Surgical Assocs., L.P. v. United
                                                18   HealthCare Ins. Co., 2011 WL 2748724, at *5 (N.D. Cal. July 13, 2011); see also Simi
                                                19   Surgical Ctr., Inc. v. Connecticut Gen. Life Ins. Co., 2018 WL 6332285, at *2 (C.D.
                                                20   Cal. Jan. 4, 2018). This requires a plaintiff to plead key components of the plan,
                                                21   including which claims it covers, what services the plan covers and at what rate, and
                                                22   whether the plaintiff complied with an administrative exhaustion mechanism. Simi
                                                23   Surgical Ctr., Inc., 2018 WL 6332285, at *2-*3. Merely pleading that Cigna would
                                                24   pay for treatment pursuant to unidentified plans at an unspecified UCR rate for
                                                25   unspecified services at unspecified times, utterly fails to meet this standard.
                                                26         In fact, the court in Simi Surgical Center, Inc. rejected allegations and arguments
                                                27   nearly identical to Bristol’s here. 2018 WL 6332285, at *2-*3. In that case, a provider
                                                28   brought a claim against a payor for ERISA benefits for unspecified services rendered

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                                                 1   to 100 patients. Id. The provider did not allege which patients were subject to ERISA
                                                 2   plans, how the plans were funded, or what the terms of the plans were, including what
                                                 3   medical services they covered and for what specific rate. Id. at *3. Instead, the
                                                 4   provider generally alleged that ERISA plans existed and they required the payor to pay
                                                 5   for unspecified services. Id. The provider contended it was excused from pleading
                                                 6   any more specificity because it did not possess the pertinent plans. Id. The court
                                                 7   disagreed and dismissed the provider’s claim. Id. The court held that to meet its
                                                 8   burden, the provider needed to allege which plans governed, how they were funded,
                                                 9   what they covered and at what specific rate, and whether the provider exhausted
                                                10   administrative remedies. Id. Notably, the court made clear that the fact that the
                                                11   provider did not possess the plans did not excuse it from its burden. Id.
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                                                12         As in Simi Surgical Center, Inc., Bristol’s vague allegations fall far short of
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                               LOS ANGELES




                                                13   satisfying its pleading burden so its ERISA claim should be dismissed.
                                                14 III. BRISTOL’S STATE-LAW CAUSES OF ACTION ONLY SEEK THE
                                                        RECOVERY OF BENEFITS AND ARE PREEMPTED BY ERISA (COA 2-
                                                15      12)
                                                16         Bristol in the very first line of its Opposition admits this action is “a collection
                                                17   action for unpaid insurance benefits.” (Opp. at 1). Bristol provides no explanation
                                                18   as to how, despite this concession, its state-law claims (COA 2-12) survive
                                                19   preemption under ERISA, which provides the exclusive enforcement mechanism to
                                                20   recover unpaid benefits. See O’Rourke v. Farmers Grp., Inc. Transitional
                                                21   Supplemental Exec. Ret. Plan, 2017 WL 10354733, at *3 (C.D. Cal. Aug. 24, 2017).
                                                22   Bristol argues that its state law claims are not preempted because it sufficiently
                                                23   alleged other duties that permit it to bring a host of tort claims against Cigna, but this
                                                24   is not the case. As set forth in Cigna’s Motion and below, the Complaint is entirely
                                                25   devoid of any allegations that support the existence of any oral contracts, implied
                                                26   contract, unfair competition, or fraud claims. The entirety of Bristol’s complaint is
                                                27   based on purported authorization and verification correspondence for 4 out of 106
                                                28   patients. These allegations do not create duties that permit Bristol to sidestep

                                                                                              -3-           DEFS.’ REPLY ISO MOT. TO DISMISS
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                                                 1   ERISA’s enforcement structure. Simply put, this is an action for unpaid benefits,
                                                 2   and the Ninth Circuit is clear; Bristol cannot dress up these types of claims as state-
                                                 3   law torts and avoid preemption. See Fossen v. Blue Cross & Blue Shield of Montana,
                                                 4   Inc., 660 F.3d 1102, 1107, 1110 (9th Cir. 2011) (“[C]laimants simply cannot obtain
                                                 5   relief by dressing up an ERISA benefits claim in the garb of a state law tort.”).
                                                 6   ERISA provides the exclusive enforcement mechanism for this dispute and Bristol’s
                                                 7   state-law claims should be dismissed.
                                                 8   IV. BRISTOL’S FRAUD CLAIMS ARE NOT SUFFICIENTLY PLED (COA
                                                         3-5)
                                                 9
                                                           Even if they are not preempted, Bristol’s fraud claims fare no better. Bristol’s
                                                10
                                                     Complaint falls far short of the heightened pleading requirements mandated by Rule
                                                11
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                                                     9(b) and provides vague allegations for only 4 of the 106 patient at issue. Bristol
                                                12
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                                                     argues that its Complaint is “specific enough” because Cigna has the “operative
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                                                13
                                                     information” regarding the purported fraud. (Opp. at 9-10.) Bristol provides no
                                                14
                                                     authority that permits a plaintiff to circumvent these requirements by providing
                                                15
                                                     allegations for less than 10 percent of the patients at issue because the defendant
                                                16
                                                     should know what happened. (See Opp. at 11.) Bristol turns the heightened fraud
                                                17
                                                     pleading requirements on its head. Indeed, permitting Bristol to press forward with
                                                18
                                                     its fraud claims based on nothing more than vague conclusions and speculation
                                                19
                                                     would defeat the entire purpose behind Rule 9(b), which is designed to “prevent[] the
                                                20
                                                     filing of a complaint as a pretext for the discovery of unknown wrongs” and
                                                21
                                                     “protect[] potential defendants . . . from the harm that comes from being charged
                                                22
                                                     with the commission of fraudulent acts.” Arabian v. Organic Candy Factory, 2018
                                                23
                                                     WL 1406608, at *4 (C.D. Cal. Mar. 19, 2018) citing Semegen v. Weidner, 780 F.2d
                                                24
                                                     727, 731 (9th Cir. 1985); see also Ackerman v. Northwestern Mut. Life Ins. Co., 172
                                                25
                                                     F.3d 467, 469 (7th Cir. 1999).
                                                26
                                                           To try to support its baseless position, Bristol only cites to one California
                                                27
                                                     decision that is inapplicable here on both the facts and the law. See Tenet
                                                28

                                                                                              -4-          DEFS.’ REPLY ISO MOT. TO DISMISS
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                                                  1   Healthsystem Desert, Inc. v. Blue Cross of Cal., 245 Cal. App. 4th 821 (2016). First,
                                                  2   Tenet is a California state case that evaluates and applies California’s pleading
                                                  3   requirements, not the federal pleading requirements applicable to this case. Id. at
                                                  4   833. Second, Tenet, involves a payment dispute involving a single patient. Id. at
                                                  5   832. For that single patient, the provider’s complaint contained 276 pages and
                                                  6   extensively outlined the plaintiff’s interactions and correspondence with the
                                                  7   defendant hospital over a 50-day period. Id. While the Tenet court held that these
                                                  8   extensive allegations were sufficient to allege fraud in California state court, the
                                                  9   court did not hold that the plaintiff was somehow excused from pleading fraud. See
                                                 10   id. at 839. In contrast to the extensive allegations present in Tenet, Bristol’s
                                                 11   complaint contains only 30 pages for 106 patients and contains allegations that relate
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                                                 12   to telephone conversations for only 4 of the patients at issue. Bristol has not met its
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                                                 13   pleading burden and its fraud claims should be dismissed.
                                                 14         Moreover, even if Bristol’s allegations regarding these 4 patients could
                                                 15   somehow be applied to all of the patients, they do not contain allegations sufficient to
                                                 16   support fraud or concealment causes of action. Critically, Bristol does not allege that
                                                 17   Cigna promised to pay Sure Haven a certain rate, made any false statement, or
                                                 18   concealed any information. (Compl., ¶¶ 14-15.) The allegations simply assert that
                                                 19   Cigna communicated purported coverage rates, which is not a misrepresentation or a
                                                 20   concealment. (Mot. at 5.) (citing Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co.,
                                                 21   520 F. Supp. 2d 1184, 1193 (C.D. Cal. 2007). Bristol’s fraud claims should be
                                                 22   dismissed.
                                                 23 V.     BRISTOL’S NEGLIGENT NONDISCLOSURE CAUSE OF ACTION
                                                           SHOULD BE DISMISSED (COA 6)
                                                 24
                                                            Bristol ignores Cigna’s argument that “negligent nondisclosure” is not
                                                 25
                                                      actionable under California law. (Mot. at 6) (citing Keshish v. Allstate Ins. Co., 2012
                                                 26
                                                      WL 12887075, at *4 (C.D. Cal. Oct. 19, 2012).) This is unsurprising because even a
                                                 27
                                                      case upon which Bristol relies squarely holds that there is no cause of action for a
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                                                                                               -5-           DEFS.’ REPLY ISO MOT. TO DISMISS
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                                                  1    negligent nondisclosure. See Regents of Univ. of Cal. v. Principal Fin. Grp., 412 F.
                                                  2    Supp. 2d 1037, 1045 (N.D. Cal. 2006) (“California negligent misrepresentation law,
                                                  3    however, does not impose liability for negligent omissions; some “positive assertion”
                                                  4    is required.”). This cause of action is frivolous and should be dismissed.
                                                  5   VI. BRISTOL DOES NOT ALLEGE A CLEAR AND UNAMBIGUOUS
                                                          PROMISE AND ITS PROMISSORY ESTOPPEL CLAIM FAILS (COA 7)
                                                  6
                                                             Bristol concedes that promissory estoppel requires the plaintiff to allege a
                                                  7
                                                       “clear and unambiguous promise in its terms.” (Mot. at 7) (quoting Pain Mgmt.
                                                  8
                                                       Specialists v. Blue Shield of Cal. Life & Health Ins. Co., 2015 WL 546025, at *2
                                                  9
                                                       (C.D. Cal. Feb. 9, 2015). Bristol argues that its general and vague allegations
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                                                       regarding verifications and authorization meets this standard. (Opp. at 12.) They do
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                                                       not. Tellingly, Bristol provides no support for this position, and instead cites to two
                                                 12
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                                                       inapposite summary judgment cases, neither of which involve the pleading
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                                                 13
                                                       requirements for promissory estoppel claims. (See Opp. at 12) (citing Regents of the
                                                 14
                                                       Univ. of Cal. v. Principal Fin. Grp., 412 F. Supp. 2d 1037 (N.D. Cal. 2006); Enloe
                                                 15
                                                       Med. Ctr. v. Principal Life Ins. Co., 2011 WL 6396517 at *6 (E.D. Cal. Dec. 20,
                                                 16
                                                       2011)). Bristol’s promissory estoppel claim should be dismissed. See Pain Mgmt.
                                                 17
                                                       Specialists, 2015 WL 546025, at *2 (dismissing promissory estoppel claim where
                                                 18
                                                       plaintiff failed to allege that the payor made a clear and ambiguous promise to pay
                                                 19
                                                       billed charges).
                                                 20
                                                      VII.   BRISTOL’S QUANTUM MERUIT CLAIM FAILS (COA 8)
                                                 21
                                                             Bristol’s quantum meruit claim is also flawed. Bristol concedes through its
                                                 22
                                                       silence that its quantum meruit cause of action fails because Bristol alleges no facts
                                                 23
                                                       that (1) Cigna specifically requested that Sure Haven provide the services at issue;
                                                 24
                                                       and (2) Sure Haven’s performance of services conferred any benefit on Cigna (Mot.
                                                 25
                                                       at 14), both of which are required elements for a quantum meruit claim. See Day v.
                                                 26
                                                       Alta Bates Med. Ctr., 98 Cal. App. 4th 243, 248 (2002). Bristol’s claim should be
                                                 27
                                                       dismissed.
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                                                                                                -6-          DEFS.’ REPLY ISO MOT. TO DISMISS
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                                                  1 VIII. BRISTOL’S UNFAIR COMPETITION CLAIM FAILS (COA 9)
                                                  2       Bristol’s UCL claim fails. Bristol, as the alleged assignee of Sure Haven,
                                                  3   lacks standing to bring its unfair competition claim and the UCL claim otherwise
                                                  4   fails to state an actionable claim, because Plaintiff seeks damages (not restitution)
                                                  5   and because Bristol has pled no right to injunctive relief.
                                                  6         As an initial matter, Bristol admits the UCL claims at issue were received in an
                                                  7   assignment from Sure Haven. (Opp. at 13.) This dooms Bristol’s claims. Bristol
                                                  8   nonetheless argues that it has statutory standing, because it paid “significant
                                                  9   consideration” for its assignment. (Id.) Bristol cites to no authority for this position
                                                 10   and urges this Court to ignore the clear holding of Amalgamated Transit Union Local
                                                 11   1756, AFL-CIO v. Superior Court, 46 Cal. 4th 993 (2009), which flatly prohibits the
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                                                 12   assignment of unfair competition claims (id. at 1002). Bristol contends that because
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                                                 13   Amalgamated “doesn’t discuss if any consideration was paid for the assignment” it
                                                 14   does not apply here. (Opp. at 13.) Not so. The holding of Amalgamated contains no
                                                 15   such limitation. To the contrary, Amalgamated broadly holds that unfair competition
                                                 16   claims cannot be assigned. Id. at 1002. An assignment of such claims would run
                                                 17   afoul of “the express statutory requirement in the unfair competition law . . . that a
                                                 18   private action under that law be brought exclusively by a ‘person who has suffered
                                                 19   injury in fact and has lost money or property as result of the unfair competition.’” Id.
                                                 20   Bristol’s claim therefore fails on this ground alone.
                                                 21         Nevertheless, even assuming Bristol had standing, Bristol’s Opposition still
                                                 22   fails to explain how Bristol sufficiently pleads any fraudulent, unlawful, or unfair
                                                 23   conduct or how it pleads it is entitled to equitable relief.
                                                 24         To the extent Bristol’s unfair competition claim is based on fraud, it must meet
                                                 25   the heightened pleading standards of Rule 9(b), which it fails to do for the reasons
                                                 26   discussed in Cigna’s motion and in Section IV above. Kearns v. Ford Motor Co.,
                                                 27   567 F.3d 1120, 1127 (9th Cir. 2009).
                                                 28

                                                                                                -7-           DEFS.’ REPLY ISO MOT. TO DISMISS
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                                                  1         To the extent its claim is based on unlawful conduct, Bristol’s Opposition does
                                                  2   not and cannot change the fact that the Complaint does not cite or reference a single
                                                  3   statute that underlies the claim. Bristol argues that even though no statutes are cited,
                                                  4   its unlawful prong is actually based on purported violations of California Health &
                                                  5   Safety Code sections 1371.8 and 1374.72 and California Insurance Code section
                                                  6   10144.5. Bristol’s post-motion to dismiss arguments cannot now save its Complaint.
                                                  7   And even if these statutes were expressly referenced in the Complaint, Bristol does
                                                  8   not allege that Cigna violated them (it did not). California Health & Safety Code
                                                  9   section 1371.8 prohibits the rescission or modification of authorizations provided for
                                                 10   a specific type of treatment while California Health & Safety Code section 1374.7 2
                                                 11   and California Insurance Code section 10144.5 requires insurance policies and health
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                                                 12   plans for specifically enumerated “severe mental illnesses.” Bristol does not allege
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                                                 13   that any policies or plans did not contain any mandated coverage and similarly does
                                                 14   not allege that Cigna rescinded or modified any authorizations for specific
                                                 15   treatments.
                                                 16         Bristol similarly provides no argument as to how its bare bones allegations
                                                 17   plead a claim based on the unfair prong. Durell v. Sharp Healthcare, 183 Cal. App.
                                                 18   4th 1350, 1366 (2010) (“unfair” conduct under the UCL requires allegations that the
                                                 19   “conduct is tethered to an[] underlying constitutional, statutory or regulatory
                                                 20   provision, or that it threatens an incipient violation of an antitrust law, or violates the
                                                 21   policy or spirit of an antitrust law”).
                                                 22         Finally, Bristol’s Opposition also fails to address how it adequately pleads a
                                                 23   request for equitable relief. Bristol’s Complaint does not seek the return of any
                                                 24   money or property it paid to Cigna; it seeks damages for purported injuries and
                                                 25   nonrestitutionary disgorgement of profits. This is not restitution. Korea Supply Co.
                                                 26   v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003). To be recoverable
                                                 27   restitution, Bristol must have paid money to Cigna and must seek its return. Id. at
                                                 28   1152. Bristol misses this point and conflates injury-in-fact UCL standing with

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                                                  1   equitable relief. (Opp. at 14-15.) To plead a claim for a relief under the UCL, the
                                                  2   plaintiff must allege both that they have standing to bring the claim, i.e., they
                                                  3   suffered an injury-in-fact, and a right to equitable relief. Kwikset Corp. v. Superior
                                                  4   Court, 51 Cal. 4th 310, 322 (2011). Bristol does not do that here.
                                                  5         Bristol similarly does not allege a real or immediate threat of an irreparable
                                                  6   injury and therefore cannot seek injunctive relief; its claim should be dismissed.
                                                  7   Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1021 (9th Cir. 2004);
                                                  8   Palmer v. Stassinos, 348 F. Supp. 2d 1070, 1088 (N.D. Cal. 2004) order clarified on
                                                  9   reconsideration, 419 F. Supp. 2d 1151 (2005) (UCL claim dismissed where plaintiff
                                                 10   did not allege right to equitable relief).
                                                 11    IX. BRISTOL’S BREACH OF CONTRACT CLAIMS FAIL (COA 2, 10-11)
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                                                 12         Bristol’s Opposition argues that three separate contracts govern the alleged
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                                                 13   provision of services to Cigna members—an alleged oral contract and implied
                                                 14   contract based on the verification and authorization process between Sure Haven and
                                                 15   Cigna, and an alleged written contract based on the written plan. (Opp. at 16-17.)
                                                 16   Bristol urges this Court to believe Plaintiff has sufficiently pled the existence of these
                                                 17   contracts because it alleges Cigna purportedly agreed to pay the UCR rate. Again,
                                                 18   Bristol nowhere alleges that Cigna agreed to pay the UCR rate for each patient.
                                                 19   Indeed, the allegations that reference the UCR rate actually reference varying UCR
                                                 20   rates, varying out-of-pocket maximums, and do not contain any reference to an
                                                 21   explicit agreement. (Compl., ¶ 14.) Bristol similarly fails to plead what services the
                                                 22   contract covered and for which patient. Bristol has not adequately pled the existence
                                                 23   of any contract. See Pacific Bay Recovery, Inc. v. California Physicians’ Servs., Inc.,
                                                 24   12 Cal. App. 5th 200, 216 (2017) (a plaintiff must plead the terms of purported
                                                 25   contracts with sufficient specificity to ascertain the parties’ respective obligations and
                                                 26   the existence of a breach).
                                                 27         Further, there cannot be three separate contracts, each of which governs the
                                                 28   same alleged services. As this Court has previously recognized, “[u]nder California

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                                                  1   law, the ability of a medical provider with an assignment from its patients to recover
                                                  2   from a health insurer for nonemergency services generally derives from and is
                                                  3   limited by the terms of coverage (also called “evidence of coverage” or “EOC”) in
                                                  4   the patients’ health insurance policy.” Casa Bella Recovery Int'l, Inc. v. Humana
                                                  5   Inc., 2017 WL 6030260, at *3 (C.D. Cal. Nov. 27, 2017). This means that
                                                  6   “[o]rdinarily, noncontracted providers may recover based only on a breach of written
                                                  7   contract theory,” if at all. Id. Bristol’s contract claims should be dismissed.
                                                  8 X.    BRISTOL’S IMPLIED COVENANT CLAIM IS DUPLICATIVE OF ITS
                                                          BREACH OF CONTRACT CLAIMS AND SHOULD BE DISMISSED
                                                  9       (COA 12)
                                                 10           Bristol’s breach of implied covenant of good faith and fair dealing claim is
                                                 11   duplicative of its breach of contract claims, which Bristol admits. Bristol’s
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                                                 12   Opposition concedes that this claim is based solely on Cigna’s failure to pay for
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                                                 13   services Sure Haven allegedly provided to Cigna’s members as allegedly required by
                                                 14   plans governing those members. (Opp. at 18-19.) Bristol does not and cannot
                                                 15   explain how or why this admission is not dispositive. Bristol’s implied covenant
                                                 16   claim is duplicative and therefore fails as a matter of law. See, e.g., Svenson v.
                                                 17   Google, Inc., 65 F. Supp. 3d 717, 725 (N.D. Cal. 2014) (implied covenant claim that
                                                 18   merely duplicates a breach of contract claim is deemed superfluous under California
                                                 19   law).
                                                 20   XI. CONCLUSION
                                                 21           Based on the foregoing and Cigna’s opening brief, Cigna respectfully requests
                                                 22   that the Court grant the Motion and dismiss Bristol’s Complaint. Additionally,
                                                 23   because Bristol cannot allege that its state-law claims are for anything other than the
                                                 24   recovery of plan benefits and are therefore preempted by ERISA, these claims (COA
                                                 25   2-12) should be dismissed with prejudice. Bristol similarly cannot allege that it has
                                                 26   UCL standing, and it cannot allege the existence of an implied contract and oral
                                                 27   contract or that any of the alleged conduct constitutes a claim for quantum meruit,
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                                                  1   promissory estoppel, fraud, concealment, or a breach of implied covenant. These
                                                  2   claims can therefore be dismissed with prejudice for this additional reason.
                                                  3
                                                  4
                                                      Dated: July 8, 2019                MCDERMOTT WILL & EMERY LLP
                                                  5
                                                  6
                                                                                         By:     /s/ Kate M. Hammond
                                                  7                                              WILLIAM P. DONOVAN, JR
                                                                                                 KATE M. HAMMOND
                                                  8                                              Attorneys for Defendants
                                                                                                 CIGNA HEALTH AND LIFE
                                                  9                                              INSURANCE COMPANY; CIGNA
                                                                                                 BEHAVIORAL HEALTH, INC.
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